Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 1 of 12 Page ID
                                   #:2053
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 2 of 12 Page ID
                                   #:2054
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 3 of 12 Page ID
                                   #:2055
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 4 of 12 Page ID
                                   #:2056
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 5 of 12 Page ID
                                   #:2057
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 6 of 12 Page ID
                                   #:2058
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 7 of 12 Page ID
                                   #:2059
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 8 of 12 Page ID
                                   #:2060
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 9 of 12 Page ID
                                   #:2061
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 10 of 12 Page ID
                                   #:2062
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 11 of 12 Page ID
                                   #:2063
Case 2:24-cr-00091-ODW   Document 166-2 Filed 11/12/24   Page 12 of 12 Page ID
                                   #:2064
